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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

ROBERT MCKENNEY,                             )
                                             )
               Plaintiff                     )
                                             )
v.                                           )       2:16-cv-412-NT
                                             )
KEVIN JOYCE, et al.,                         )
                                             )
               Defendants                    )


           RECOMMENDED DECISION AFTER SCREENING COMPLAINT
                  PURSUANT TO 28 U.S.C. §§ 1915(e), 1915A

       In this action, Plaintiff Robert McKenney, an inmate in the York County Jail, alleges that

he has been wrongly classified as maximum security whenever he has been assigned to the

Cumberland County Jail. Plaintiff asserts his claim against “Officer Ryder in classification,”

Captain Butts (described as the “overseer of all security”), and Sheriff Kevin Joyce who “oversees

everything at the jail [and] also the County of Cumberland.” (Complaint at 4, ECF No. 1.)

       Plaintiff filed an application to proceed in forma pauperis (ECF No. 2), which application

the Court granted (ECF No. 5). In accordance with the in forma pauperis statute, a preliminary

review of Plaintiff’s complaint is appropriate. 28 U.S.C. § 1915(e)(2). Additionally, Plaintiff’s

complaint is subject to screening “before docketing, if feasible or … as soon as practicable after

docketing,” because he is “a prisoner seek[ing] redress from a governmental entity or officer or

employee of a governmental entity.” 28 U.S.C. § 1915A(a).

       After a review pursuant to 28 U.S.C. §§ 1915 and 1915A, I recommend the Court dismiss

Plaintiff’s complaint.




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                                       STANDARD OF REVIEW

       When a party is proceeding in forma pauperis, “the court shall dismiss the case at any time

if the court determines,” inter alia, that the action is “frivolous or malicious” or “fails to state a

claim on which relief may be granted.” 28 U.S.C. § 1915(e)(2)(B). “Dismissals [under § 1915]

are often made sua sponte prior to the issuance of process, so as to spare prospective defendants

the inconvenience and expense of answering such complaints.” Neitzke v. Williams, 490 U.S. 319,

324 (1989).

       In addition to the review contemplated by § 1915, Plaintiff’s complaint is subject to

screening under the Prison Litigation Reform Act because Plaintiff currently is incarcerated and

seeks redress from governmental entities and officers. See 28 U.S.C. § 1915A(a), (c). The

§ 1915A screening requires courts to “identify cognizable claims or dismiss the complaint, or any

portion of the complaint, if the complaint (1) is frivolous, malicious, or fails to state a claim …; or

(2) seeks monetary relief from a defendant who is immune from such relief.” 28 U.S.C. §

1915A(b).

       When considering whether a complaint states a claim for which relief may be granted,

courts must assume the truth of all well-plead facts and give the plaintiff the benefit of all

reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640 F.3d 1, 12 (1st Cir.

2011). A complaint fails to state a claim upon which relief can be granted if it does not plead

“enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 570 (2007). “The relevant question ... in assessing plausibility is not whether the

complaint makes any particular factual allegations but, rather, whether ‘the complaint warrant[s]

dismissal because it failed in toto to render plaintiffs’ entitlement to relief plausible.’” Rodríguez–

Reyes v. Molina–Rodríguez, 711 F.3d 49, 55 (1st Cir. 2013) (quoting Twombly, 550 U.S. at 569 n.



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14). Although a pro se plaintiff’s complaint is subject to “less stringent standards than formal

pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), the complaint may not

consist entirely of “conclusory allegations that merely parrot the relevant legal standard,” Young

v. Wells Fargo, N.A., 717 F.3d 224, 231 (1st Cir. 2013). See also Ferranti v. Moran, 618 F.2d

888, 890 (1st Cir. 1980) (explaining that the liberal standard applied to the pleadings of pro se

plaintiffs “is not to say that pro se plaintiffs are not required to plead basic facts sufficient to state

a claim”).

                                              FACTUAL BACKGROUND1

           Plaintiff alleges that in 2012, while serving two consecutive nine-month sentences in the

Cumberland County Jail (CCJ), he was accused of having an inappropriate relationship with a

member of the corrections staff. (Complaint, ECF No. 1) Pending a criminal investigation,

Plaintiff was transferred to other correctional facilities in Maine, and was classified as maximum

security for some of the time. Plaintiff was released from custody in 2013. (Statement of Claim

at 1, ECF No. 1-1.)

           In May 2016, Plaintiff was arrested and processed at the CCJ. “[D]ue to a violent crime

[he] was arrested for,” Plaintiff was initially classified as maximum. (Id. at 2.) Soon after his

arrival at the jail, officials at the CCJ transferred Plaintiff to the York County Jail (YCJ) to prevent

contact between Plaintiff and the CCJ staff member with whom he allegedly had an improper

relationship. At YCJ, Plaintiff was placed in maximum security for five days before being

reclassified to general population, where he has remained ever since “with no disciplinary action.”

(Id.) On occasion, when transported to court proceedings in Cumberland County, Plaintiff has




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    The facts set forth herein are derived from Plaintiff’s complaint.


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been held temporarily in maximum security at the CCJ, purportedly to prevent contact with the

staff member. (Id.)

       Plaintiff maintains Defendants unlawfully classified him as maximum security.              He

contends prison policies or regulations provide that maximum security is reserved for prisoners

who present security risks or who present a danger to themselves or others. (Id. at 3.) After

Plaintiff wrote a letter challenging his classification, his classification at the CCJ was changed.

(Id.) Plaintiff describes his claim as a denial of due process based on the denial of a classification

hearing. (Id.)

       On September 26, 2016, Plaintiff filed a supplemental pleading. (ECF No. 8.) In the

pleading, Plaintiff alleges that on September 12, he was sentenced to 364 days in county jail, to be

followed by a six-month consecutive sentence. After sentencing, Plaintiff asked Defendant Ryder

whether he will qualify for the prerelease program administered by Cumberland County when he

has six months or less remaining on his sentence. According to Plaintiff, Defendant Ryder

informed Plaintiff that because of his inappropriate relationship with the corrections staff member

at the CCJ, he would not be assigned to the CCJ and thus would not be permitted to participate in

the program. Plaintiff contends the denial of his ability to participate in the program constitutes a

violation of his right to due process of law.

                                            DISCUSSION

       The Due Process Clause of the Fourteenth Amendment prohibits a state from depriving a

person of “life, liberty, or property, without due process of law.” U.S. Const. amend. XIV, § 1.

The analysis of a due process claim proceeds in two stages. The Court first considers “whether

there exists a liberty or property interest of which a person has been deprived,” and if so, it then




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considers “whether the procedures followed by the State were constitutionally sufficient.”

Swarthout v. Cooke, 562 U.S. 216, 219 (2011).

       Unless Plaintiff has alleged facts to support a claim that the conditions of his confinement

have deprived him of an interest protected by the Due Process Clause, his due process claim cannot

proceed, regardless of whether Defendants violated or ignored specific provisions found in policies

maintained by the Cumberland County Sheriff regarding the operation of the CCJ. Swarthout, 562

U.S. at 219; Sandin v. Conner, 515 U.S. 472, 483 – 84 (1995).

       Plaintiff evidently alleges that his liberty interest consists of a right to be assigned to the

general population at CCJ and to participate in the work release program offered at CCJ. Plaintiff

alleges a violation of due process while he was a pretrial detainee and while he was in execution

of a sentence. The claims will be addressed separately.

A.     Plaintiff’s Post-Conviction Confinement

       A convicted prisoner does not have a constitutional right to a particular classification.

“[W]hile persons imprisoned for crime enjoy many protections of the Constitution, it is also clear

that imprisonment carries with it the circumscription or loss of many significant rights.” Hudson

v. Palmer, 468 U.S. 517, 524 (1984). For instance, “the Constitution itself does not give rise to a

liberty interest in avoiding transfer to more adverse conditions of confinement.” Wilkinson v.

Austin, 545 U.S. 209, 221 – 22 (2005) (citing Meachum v. Fano, 427 U.S. 215, 225 (1976) (no

liberty interest arising from Due Process Clause itself in transfer from low- to maximum-security

prison because “[c]onfinement in any of the State’s institutions is within the normal limits or range

of custody which the conviction has authorized the State to impose”). See also Williams v.

Lindamood, 526 Fed. App’x 559, 563 (6th Cir. 2013) (“[A] prisoner has no constitutional right to

be incarcerated in a particular prison or to be held in a specific security classification.” (quoting



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Harbin-Bey v. Rutter, 420 F.3d 571, 577 (6th Cir. 2005)); see also Myron v. Terhune, 476 F.3d

716, 718 (9th Cir. 2007).

         Because Plaintiff did not have a right to a certain classification in 2012, and because he has

no such right at present, unless his classification constitutes an “atypical and significant hardship

… in relation to the ordinary incidents of prison life,” Plaintiff does not have an actionable federal

claim based on alleged procedural irregularities or misapplication of state law classification

standards. Sandin, 515 U.S. at 484. In other words, while Plaintiff serves a sentence of

incarceration, he does not have a constitutional liberty interest except to the extent that the

conditions to which he is subjected impose an atypical and significant hardship in relation to the

ordinary incidents of prison life. Id.

         Plaintiff has not alleged facts that would support a finding that he has been subjected to or

is currently subject to conditions of confinement that impose an atypical and significant hardship

in relation to the ordinary incidents of prison life. More specifically, Plaintiff’s maximum security

classification at CCJ, Plaintiff’s placement in the general population at YCJ, and Plaintiff’s

inability to participate in a work release program in the future do not constitute atypical and

significant hardships. Indeed, applying the Sandin standard, the First Circuit held that the removal

of a prisoner from a work release program does not impose an atypical and significant hardship.

Dominique v. Weld, 73 F.3d 1156, 1160 (1st Cir. 1996).2 Accordingly, to the extent Plaintiff

complains of a denial of due process based on Defendants’ classification and housing decisions,

he has failed to allege a recognized liberty interest. Plaintiff’s claim based on his post-conviction

confinement thus fails.



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 Even before Sandin, this Circuit determined that challenges related to prison work release programs do not implicate
a constitutionally protected liberty interest. Bowser v. Vose, 968 F.2d 105 (1st Cir. 1992) (per curiam).


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B.       Plaintiff’s Pretrial Confinement

         Plaintiff’s pleadings suggest he was a pretrial detainee between May and September, 2016.

During this five-month period, Plaintiff asserts he was assigned for eight days at CCJ with a

maximum security classification due to the violent nature of the crime for which he was arrested.

For the remainder of his pretrial detention, Plaintiff was at the YCJ and, except for an initial five-

day period, he has been in general population.

         Because pretrial detainees have not been convicted of the crime or crimes with which they

are charged, they are entitled to constitutional protections greater than the protections afforded

sentenced inmates. Significantly, a pretrial detainee has a substantive due process right to be free

from “punishment” unless and until he is convicted. Ford v. Bender, 768 F.3d 15, 24 (1st Cir.

2014) (citing Bell v. Wolfish, 441 U.S. 520, 535 – 36 (1979), and Surprenant v. Rivas, 424 F.3d 5,

13 (1st Cir. 2005)).3 In addition, a pretrial detainee is entitled to procedural due process before a

disciplinary sanction is imposed based on a violation of prison rules. Id. at 27.

         “Courts considering challenges to confinement brought by pretrial detainees must first

consider whether the circumstances of the particular confinement render the confinement punitive;

since some restraint is necessary to confine a pretrial detainee, not all uncomfortable conditions or

restrictions are necessarily punitive.” Iqbal v. Hasty, 490 F.3d 143, 168 (2d Cir. 2007), reversed

on other grounds, Ashcroft v. Iqbal, 556 U.S. 662 (2009). The First Circuit has describe a pretrial

detainee’s liberty interest in non-punitive conditions of confinement as “coextensive with those of

the Eighth Amendment’s prohibition against cruel and unusual punishment.” Surprenant, 424

F.3d at 18. Conditions are thus punitive if they are below the “minimal measure of necessities


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  For pretrial detainee claims, “punishment” is a term of art. Ford, 768 F.3d at 24. “What is prohibited is ‘punishment
in the constitutional sense,’ not mere ‘restrictions and conditions accompanying pretrial detention.’” Id. (quoting Bell,
441 U.S. at 538). “[T]he test of whether a condition is in fact punishment is whether ‘the disability is imposed for the
purpose of punishment.’” Id. (quoting Bell, 441 U.S. at 538).

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required for civilized living.” Id. A pretrial detainee can also establish that he has been punished

“by providing only objective evidence that the challenged governmental action is not rationally

related to a legitimate governmental objective or that it is excessive in relation to that purpose.”

Kingsley v. Hendrickson, 135 S. Ct. 2466, 2473 – 74 (2015).4

         The first issue is whether objectively, the CCJ’s maximum security classification of

Plaintiff for eight days pending his transfer to York County could be considered punishment.

Plaintiff alleges that following his arrest in 2016, the CCJ classified him as maximum security due

to the violent nature of the crime for which he was arrested and detained. Plaintiff does not

describe the conditions actually imposed on him during the eight days he spent at CCJ with the

maximum security classification.

         “[P]rison administrators [are] to be accorded wide-ranging deference in the adoption and

execution of policies and practices that in their judgment are needed to preserve internal order and

discipline and to maintain institutional security.” Bell, 441 U.S. at 547. “Restraints that are

reasonably related to the institution’s interest in maintaining jail security do not, without more,

constitute unconstitutional punishment, even if they are discomforting[.]” Id. at 540. Here,

Plaintiff alleges the CCJ made the maximum security classification because he was charged with

a violent crime. Given the understandable deference the law affords prison administrators in

decisions designed to preserve internal order and safety, the placement of a pretrial detainee

charged with a violent crime in maximum security for a relatively brief period of time was

rationally related to a legitimate governmental objective, was not excessive, and would not support


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  Concerning the Supreme Court’s use of the phrase “only objective evidence,” a condition of confinement claim
against a particular individual defendant often will include an additional, subjective component (proof of deliberate
indifference) in order to establish that particular defendant’s liability. Surprenant, 424 F.3d at 18. However, where
the conduct in question is “purposefully or knowingly” applied, satisfaction of an objective standard is sufficient to
establish liability. Kingsley v. Hendrickson, 135 S. Ct. 2466, 2472 (2015). This discussion assumes, arguendo, that
Plaintiff’s allegations describe a condition purposefully or knowingly applied by the named Defendants.


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a finding that the CCJ intended to punish Plaintiff. In short, under the circumstances, the

placement does not constitute a deprivation of a liberty interest without due process of law. See,

e.g., Covino v. Vermont Dep’t of Corr., 933 F.2d 128, 129 (2d Cir. 1991) (per curiam) (“‘[T]he

transfer of an inmate to less amenable and more restrictive quarters for nonpunitive reasons’ is not

a right protected by the due process clause itself …” (quoting Hewitt v. Helms, 459 U.S. 460, 468

(1983)); Trythall v. O’Mara, No. 1:11-CV-458, 2012 WL 1216270, at *7 (D.N.H. Mar. 19, 2012),

report and recommendation adopted sub nom. Trythall v. Hillsborough Cty. Dep't of Corr., 2012

WL 1253014 (D.N.H. Apr. 11, 2012) (concluding that alleged placement of detainee in maximum

security in order to prevent violation of a restraining order failed to state a claim); Coble v. Butler,

No. 3:09-CV-8021, 2009 WL 722713, at *1 (D. Ariz. Mar. 18, 2009) (dismissing detainee’s due

process claim based on placement in maximum security without a prior hearing); Yant v. Scholack,

No. 1:95-CV-9462, 1998 WL 157053, at *2 (S.D.N.Y. Apr. 3, 1998) (“The Due Process Clause

itself does not give plaintiff a protectable liberty interest relating to his brief administrative

confinement while undergoing intake and classification procedures ...”).

       Plaintiff also asserts that a due process claim is warranted because the maximum security

classification was not authorized by state or county policies and procedures. Plaintiff specifically

alleges that state and/or county policies and regulations restrict the maximum security

classification to prisoners who present security risks or who present a danger to themselves or

others. As a pretrial detainee, Plaintiff could establish a deprivation of liberty by demonstrating

he was summarily subjected to one or more conditions of confinement that are authorized only

after administrative compliance with certain mandatory procedures or standards. Id. at 130;




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Russell v. Coughlin, 910 F.2d 75, 77 (2d Cir.1990) (citing Hewitt, 459 U.S. at 471 – 72).5 Plaintiff,

however, has not identified a mandatory procedure that precludes the maximum security

classification under the circumstances alleged (i.e., a pretrial detainee charged with a violent

crime) without a prior hearing. To the contrary, given that Plaintiff has alleged that he was charged

with a violent crime, and given that Plaintiff has alleged the maximum security classification is

permitted in the event a security risk is presented, the classification appears to be authorized.

Furthermore, even if the Court assumes that the initial classification was based on Plaintiff’s prior

inappropriate relationship with a prison staff member, the relationship with a member of the

corrections staff also presents a security issue that would warrant a placement in maximum security

for at least a brief period of time.6 In sum, Plaintiff has not alleged facts that would support a

finding that Defendants failed to observe a mandatory requirement of state law before Plaintiff

was classified as maximum security.

         The final potential basis for Plaintiff’s due process claim is the procedure, as described by

the Supreme Court in Bell v. Wolfish, that a correctional facility must follow before disciplinary

sanctions can be imposed against a pretrial detainee. If Plaintiff’s complaint is construed liberally,

Plaintiff alleges that his persistent maximum security classification at CCJ is a disciplinary

sanction arising from his alleged inappropriate relationship with a CCJ staff member in 2012.

According to Plaintiff, in 2016, Defendant Ryder conceded the fact when he explained to Plaintiff

the reason he would not be assigned to the CCJ. Plaintiff’s claim fails. First, Plaintiff’s desire to


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  The holding of Hewitt v. Helms, 459 U.S. at 472, that state statutes and regulations containing “explicitly mandatory
language … requiring specific substantive predicates” confer a liberty interest on prisoners, has been abrogated in the
context of post-conviction confinement. See Sandin, 515 U.S. at 480 – 81.
6
  Plaintiff also alleges that during the pretrial detention period he occasionally was held at CCJ in connection with
pretrial proceedings at the Cumberland County Courthouse, during which visits he maintained the maximum security
classification while in the CCJ. However, there is no factual basis to conclude that the conditions under which Plaintiff
was held during the temporary visits would have been different without the classification.


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reside at the CCJ is not a protected liberty interest. Meachum, 427 U.S. at 225. In addition, the

assignment of Plaintiff to a more favorable classification in another facility cannot reasonably be

construed as punishment. Plaintiff, therefore, has not stated an actionable claim for a violation of

the procedural requirements of the Due Process Clause.

                                          CONCLUSION

       Based on the foregoing analysis, after a review pursuant to 28 U.S.C. § 1915 and 28 U.S.C.

§ 1915A, I recommend the Court dismiss Plaintiff’s complaint.

                                             NOTICE

               A party may file objections to those specified portions of a magistrate
       judge's report or proposed findings or recommended decisions entered pursuant to
       28 U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
       together with a supporting memorandum, within fourteen (14) days of being served
       with a copy thereof. A responsive memorandum shall be filed within fourteen (14)
       days after the filing of the objection.

              Failure to file a timely objection shall constitute a waiver of the right to de
       novo review by the district court and to appeal the district court's order.

                                              /s/ John C. Nivison
                                              U.S. Magistrate Judge

Dated this 27th day of October, 2016.




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